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 In re         Joshua Ronald Yates                                                                               Case No.       12-62216
                                                                                                     ,
                                                                                    Debtor

                                       SCHEDULE B - PERSONAL PROPERTY - AMENDED
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial            X
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Two Recliners; Couch; Television; Coffee Table w/                 J                        1,300.00
      including audio, video, and                         2 End Tables; Bookcases; Sewing Machine;
      computer equipment.                                 Entertainment Unit; Game Consoles; Armoire; Bed
                                                          Frame; Nightstands; Wardrobe w/ Mirror; Kitchen
                                                          Table; Kitchenwares; Desktop Compaq Presario
                                                          Computer; Desktop Gateway Computer; Washer &
                                                          Dryer

5.    Books, pictures and other art                       Miscellaneous books and textbooks/manuals                         J                           125.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Debtors' clothing                                                 -                           200.00

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                    Term Life Insurance - Veteran's Group - No cash                   -                              0.00
      Name insurance company of each                      value
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.


                                                                                                                            Sub-Total >            1,625.00
                                                                                                                (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property

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 In re         Joshua Ronald Yates                                                                               Case No.       12-62216
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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 In re         Joshua Ronald Yates                                                                               Case No.       12-62216
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

21. Other contingent and unliquidated                     Debtor's pro rata interest, if any, in 2012 tax return.           J                        2,556.00
    claims of every nature, including                     Debtor has filed 2012 taxes with his spouse. The
    tax refunds, counterclaims of the                     returns state that refunds are due as follows:
    debtor, and rights to setoff claims.                  Federal - $2,533.00; and State - $ 23.00. All reported
    Give estimated value of each.                         income was attributable to Debtor's non-filing
                                                          spouse. All overpayment refunds are solely
                                                          attributable to spouse. All earned income credit
                                                          refunds are solely attributable to spouse.

22. Patents, copyrights, and other                        Copyright and all other rights in self-authored book              -                              0.00
    intellectual property. Give                           - Entitled "Radical: An American's Plan for Real
    particulars.                                          Change" - Copyright 2012.

                                                          At this time, book has little or no value. No copies
                                                          have been sold as of the date of Debtor's
                                                          bankruptcy filing.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2009 Honda Fit Sport - 4 door hatchback, 4 cylinder               H                        9,000.00
    other vehicles and accessories.                       engine, 30,000 miles. Debtor in good faith believed
                                                          that the vehicle in its current condition would be
                                                          worth approximately $9,000.00.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                              3 house cats - pets                                               -                              0.00




                                                                                                                            Sub-Total >          11,556.00
                                                                                                                (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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 In re         Joshua Ronald Yates                                                                               Case No.        12-62216
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind                   Circular saw, Router, Belt Sander, Miter Saw, Jig                  J                          150.00
    not already listed. Itemize.                          Saw




                                                                                                                            Sub-Total >              150.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >         13,331.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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  In re         Joshua Ronald Yates                                                                                   Case No.           12-62216
                                                                                                          ,
                                                                                        Debtor

                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                        Value of                 Current Value of
                  Description of Property                                          Each Exemption                            Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Household Goods and Furnishings
Two Recliners; Couch; Television; Coffee Table                            RSMo § 513.430.1(1)                                       2,600.00                         2,600.00
w/ 2 End Tables; Bookcases; Sewing Machine;
Entertainment Unit; Game Consoles; Armoire;
Bed Frame; Nightstands; Wardrobe w/ Mirror;
Kitchen Table; Kitchenwares; Desktop Compaq
Presario Computer; Desktop Gateway
Computer; Washer & Dryer

Books, Pictures and Other Art Objects; Collectibles
Miscellaneous books and textbooks/manuals           RSMo § 513.430.1(3)                                                               250.00                           250.00

Wearing Apparel
Debtors' clothing                                                         RSMo § 513.430.1(1)                                         200.00                           200.00

Other Contingent and Unliquidated Claims of Every                         Nature
Debtor's pro rata interest, if any, in 2012 tax                           11 U.S.C. § 522(b)(3)(B)                                  2,556.00                         2,556.00
return. Debtor has filed 2012 taxes with his                              513.430(10)(a) - Earned Income                              792.00
spouse. The returns state that refunds are due                            Credits (Public Assistance Benefit) In
as follows: Federal - $2,533.00; and State - $                            event that tenancy by the entirety is
23.00. All reported income was attributable to                            not an available exemption, Debtor
Debtor's non-filing spouse. All overpayment                               intends to exempt Earned Income
refunds are solely attributable to spouse. All                            Credit Portion of Refund to greatest
earned income credit refunds are solely                                   extent possible.
attributable to spouse.                                                   RSMo § 513.440 In the event that                          1,600.00
                                                                          tenancy by the entirety exemption is
                                                                          unavailable, Debtor intends to use all
                                                                          available head of family exemptions
                                                                          to the fullest extent possible.
                                                                          RSMo § 513.430.1(3) In the event that                         50.00
                                                                          tenancy by entirety exemption is
                                                                          unavailable, Debtor intends to use
                                                                          his remaining "wildcard" exemption
                                                                          to the fullest extent possible.

Automobiles, Trucks, Trailers, and Other Vehicles
2009 Honda Fit Sport - 4 door hatchback, 4                                RSMo § 513.430.1(5)                                       3,000.00                         9,000.00
cylinder engine, 30,000 miles. Debtor in good
faith believed that the vehicle in its current
condition would be worth approximately
$9,000.00.

Other Personal Property of Any Kind Not Already Listed
Circular saw, Router, Belt Sander, Miter Saw,     RSMo § 513.430.1(3)                                                                 300.00                           300.00
Jig Saw




                                                                                                          Total:                  11,348.00                        14,906.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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